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EXHIBIT C
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2001 MARCUS AVENUE
Suite $150
LAKE SUCCESS, N.Y. 11042
516-616-0707

FAX: 516-616-0761
By Certified Maii Return Receipt Requested No. 7006 2760 0001 4607 7647
December 4, 2006

Chairman Michael Strauss
President and CEO
American Home Mortgage
Corporate Headquarters
520 Broadhollow Road
Melville, New York 11747

Re: Failure of American Home Mortgage to lock-in interest rate for client Gil Alvarez
and failure to respond to a Qualified Written Request pursuant to Section 6 of RESPA
by failing to conduct a proper and ethical investigation. AHM loan#10000769615.

Dear Chairman Strauss,

1am in receipt of the consent agreement signed by your company and the Office of
Financial Regulation for the State of Florida, regarding the misconduct committed
against Gil Alvarez (a copy of which is enclosed for your review). As you are aware,
and as the Consent Agreement points out, Mr. Alvarez will incur financial loss over the
thirty year life of the mortgage. This unfortunate set of circumstances would not have
occurred had your company responded properly and ethically to the Qualified Written

Request Mr. Alvarez mailed shortly after he was victimized by agents working on behalf
of your company.

| am writing to respectfully request that you set up a meeting with Wells Fargo Home
Mortgage, the new servicer of this loan, so that we can come'to an agreement which
will be beneficial! to all of us and we could finally set this unfortunate matter to rest.

Thank you in advance for your personal attention and response in this regard.

Very truly yours,

fovaka.é

Bonita E. Zel

cc: Wells Fargo Home Mortgage

Deborah Denton, U.S. Department of Housing and Urban Development
Office of RESPA and Interstate Land Sales

Alan Hom, Esq. General Counsel, AHM

Gil Alvarez
Case 07-1A0enesi caer Home Miortpag erage 3 of 6
The American Home Building
538 Broadhollow Road
Melville, NY 11747

Stephanie Alagna, Paralegal

Phone Number 631-622-6476

Fax Number 516-495-5418

Email: Stephanie.alagna@americanhm.com

Settlement Privileged
December 28, 2006

Ms. Bonita E. Zelman

2001 Marcus Ave., Suite $150
Lake Success, NY 11042

RE: Gil Alverez

Dear Ms. Zelman:

We are in receipt of your letter dated December 4, 2006 requesting a resolution of the above

referenced complaint. We will be sure to expedite this and get a response back to you as
soon as we can.

Thank you for your patience and attention to this matter. Please feel free to contact me
should you have any questions.

Very truly yours,

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Case 07-11047-CSS BWR E Fegan oyosi1 Page 4 of 6

2001 MARCUS AVENUE
Surte $150
Lake SUCCESS, N.Y. 11042
516-616-0707

FAX: 516-616-0761
By Facsimile to (516) 495-5418

April 6, 2007

John Kalas, Esq.
American Home Mortgage
Corporate Headquarters
520 Broadhollow Road
Melville, New York 11747

Re: Settlement Proposal for Gil Alvarez, AHM Loan#10000769615.
Dear Mr. Kalas,

This letter is to confirm my conversation with Stephanie Alagna on April 5, 2007
with a view toward reaching a settlement in the above referenced claim in order to
expeditiously resolve this matter and obviate lengthy and costly litigation. Ms. Alagna
informed me that AHM can not obtain the 5.25% interest rate that AHM initially
represented it would secure for Mr. Alvarez. We pointed out to Ms. Alagna that AHM
entered a Consent Agreement with the Florida Office of Financial Regulation whereby it
stipulated as a finding of fact that its loan originator failed to lock-in the promised rate of
5.25% interest for Mr. Alvarez on the thirty year mortgage and that therefore the rate
increased to 5.75%. Ms. Alagna requested that we submit our settlement demand in
writing for your review.

In order to arrive at this settlement demand we retained a Certified Public
Accountant to calculate the difference between the 5.25% mortgage rate AHM
promised Mr. Alvarez and the 5.75% he was compelled to accept. The accountant
utilized what is known as an Amortization Schedule and calculated that over thirty (30)
years Mr. Alvarez would be wrongfully forced to pay $30,806 in additional interest. The
Net Present Value of the interest in today's dollars is $15,000.00.

In addition to the interest owed Mr. Alvarez attorney's fees were incurred in the
amount of $16,812.50 for handling this case, disbursements of $274.73 for a total
settlement demand of $32,087.23. Please telephone me so that we may discuss an
amicable resolution to this matter. =

Thank you in advance for your personal attention and response-in this regard: | -=.

Very truly yours,

borate. £.

Bonita E. Zel

cc: Stephanie Alagna, Paralegal
American Home Mortgage
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American Home Mortgage
The American Home Building
538 Broadhollow Road
Melville, NY 11747
Stephanie Alagna, Paralegal
Phone Number 631-622-6476
Settlement Privilege

VIA UPS
April 13, 2007

Bonita E. Zelman, Esq.
2001 Marcus Avenue, Suite $150
Lake Success, NY 11042

RE: Settlement Proposal for Gil Alvarez AHM Loan # 10000769615
Dear Ms. Zelman:
This letter is to inform you that we will not be negotiating settlement with Mr. Alvarez.

Very truly yours,

tephanie Alagna
Windows Live Hotmail bray MESSBSCSS Doc 9646-3 Filed 01/05/11 Page 6 of 6 Page 1 of 1

~ - RE: Titstirance coverage by AHM
From: Grow, Nathan (NGrow@ycst.com)
Sent: Fri 10/03/08 1:53 PM
To: GIL ALVAREZ (gilallaw@msn.com)

Thev represented to me that they do not have any insurance that would cover your situation.

From: GIL ALVAREZ [mailto:gilallaw@msn.com]
Sent: Friday, October 03, 2008 1:36 PM

To: Grow, Nathan

Subject: Insurance coverage by AHM

Dear Mr. Grow,

T hope when yau receive this e-mail you and your loved ones are in the best of health. I just got back to Orlando
today. When we last talked, I suggested that you reach out to your client reqarding any possible insurance
coverage. I wanted to know where your client stands in regards to the insurance coverage. As you will recall you
indicated to me that you e-mailed your client about possible insurance coverage that would apply. Please let me
know if they are willing to submit this claim to their insurance. Awaiting your reply, I remain, very truly yours, Gil.

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